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AO 472 (Rev. 6/05) Order of Detention Pending Trial


                                                   United States District Court
                                                         Eastern District of Michigan

United States of America                                              ORDER OF DETENTION PENDING TRIAL
       v.
Mussa Shohatee                                 /                      Case Number: 07-20099
                  Defendant

         In accordance with the Bail Reform Act, 18 U.S.C. §3142(f), a detention hearing has been held. I conclude that the following
facts require the detention of the defendant pending trial in this case.

                                                         Part I – Findings of Fact
       X (1) I find that:
                   x there is probable cause to believe that the defendant has committed an offense
                   x for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 841 or 846;
                     under 18 U.S.C. § 924(c).

     X (2) I further find that the defendant has not rebutted the presumption established by finding that no condition or combination
of conditions will reasonably assure the appearance of the defendant as required and the safety of the community.

                                                         Alternative Findings
          X I find that the government has established by a preponderance of the evidence that there is a serious risk that the defendant
will not appear.

         X I find that the government has established by clear and convincing evidence that there is a serious risk that the defendant
will endanger the safety of another person or the community.

                                            Part II – Written Statement of Reasons for Detention
             I find that the credible testimony and information submitted at the hearing established the following factors under 18 U.S.C.
§ 3142(g):
                  X (a) nature of the offense - Defendant is indicted for long term, large scale drug distribution conspiracy and
multiple substantive drug offences.
                  X (b) weight of the evidence - The evidence of offense is strong; including wiretap, surveillance, undercover
contacts and drug seizure from defendant’s business.
                  X © history and characteristics of the defendant - Native of Yemen and naturalized U.S. Citizen
                                1) physical and mental condition -
                            X 2) employment, financial, family ties - Owns restaurant, but has been in Yemen since December 2006.
Owns window business which is confirmed as a front for drug distribution. Drugs seized from that business.
                            “
                            X 3) criminal history and record of appearance - Has family ties to the US and Yemen.
                  X (d) probation, parole or bond at time of the alleged offense - 1.) State Court convictions for resuming a stolen
firearm and drug possession 2.) Outstanding warrant for failure to appear in 36th District Court on drug offense.
                     (e) danger to another person or community - One victim of double shooting reports that Shohatee ordered the
                  recurring attack because he suspected the victim of stealing drugs from him. Agents heard the defendant threaten the
                  victim on after the shooting.

Pretrial Services recommends detention on flight risk and dangerousness grounds. I agree. The defendant faces severe penalties upon
conviction, and there is evidence that he has directed violence against persons who threaten the drug enterprise. The defendant has
substantial contacts in Yemen, and it is unlikely that he could be extradited if he is successful in escaping to that nation.




                                                      Part III – Directions Regarding Detention
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         The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a
corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of
the United States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the
defendant to the United States Marshal for the purpose of an appearance in connection with a court proceeding.

                                                               s/ Donald A. Scheer
              Date July 12, 2007                               Signature of Judge
                                                               Donald A. Scheer, United States Magistrate Judge
                                                                Name and Title of Judge
